 Case
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     Federal Public Defender
 2   State Bar No. 11479
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 7
 8                                UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10                                                  ***
11
      UNITED STATES OF AMERICA,                                    2:10-cr-547-RLH-PAL-1
12
                     Plaintiff,                               STIPULATION TO EXTEND
13                                                           DEADLINES IN THIS COURT’S
      vs.                                                     MARCH 17, 2015 ORDER BY
14                                                              FORTY-FIVE (45) DAYS
      NICHOLAS GHARFOURIA,
15
                     Defendant.
16
17          The United States of America, by Assistant United States Attorney Elizabeth Olson White,

18   and Defendant NICHOLAS GHARFOURIA, by Assistant Federal Public Defender Nisha

19   Brooks-Whittington, submit the following Joint Stipulation to extend, by forty-five (45) days, all of

20   the deadlines set in this Court's Order dated March 17, 2015. See CR 909.

21          The parties agree and stipulate to the following:

22          1.      On January 3, 2013, this Court sentenced Defendant to 180 months' imprisonment

23   on his conviction for drug-related offenses. CR 758.

24          2.      On March 13, 2015, Defendant filed a pro se motion for a reduction of sentence

25   pursuant to 18 U.S.C. § 3582(c)(2). CR 908.

26          3.      On March 17, 2015, this Court issued an Order appointing the Federal Public

27   Defender to represent Defendant, and setting deadlines. Specifically, the Court ordered the

28   Probation Office to provide certain documents to the parties within 30 days (i.e., by April 16, 2015)
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 1   and ordered the Federal Public Defender to file any appropriate motion or stipulation within 120 days
 2   (i.e., by July 15, 2015). CR 909.
 3          4.      Counsel for the defendant needs additional time to research the case to determine
 4   whether the defendant is eligible for sentence reduction.
 5          5.      The defendant is in custody and does not oppose a continuance.
 6          6.      For the reason stated above, the parties respectfully request that the Court issue an
 7   order extending the deadlines in the Court's March 17, 2015 Order, by forty-five (45) days.
 8          DATED this 15th day of July, 2015.
 9                                         Respectfully submitted,
10
11    RENE L. VALLADARES                                   DANIEL G. BOGDEN
      Federal Public Defender                              United States Attorney
12
      /s/ Nisha Brooks-Whittington                         /s/ Elizabeth O. White
13    ______________________________                       __________________________
      NISHA BROOKS-WHITTINGTON,                            ELIZABETH O. WHITE,
14    Assistant Federal Public Defender                    Appellate Chief and
                                                           Assistant United States Attorney
15
16
17   IT IS SO ORDERED.
18
19   ______________________________
     UNITED STATES DISTRICT JUDGE
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21   DATED: July 16, 2015

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